 Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 1 of 26




                     (;+,%,7
-&&;5LFKDUG0F*RZDQ -RKQ0DKRQ'HPDQGIRUWKH8OWLPDWH
 )LJKWLQJ&KDPSLRQVKLS$Q(FRQRPHWULF$QDO\VLVRI339%X\5DWHV
            -RXUQDORI%XVLQHVV (FRQRPLFV 
        Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 2 of 26



Journal of Business and                     Economics         ISSN 2155 7950              USA
June 2015 Volume                 6 No 6 pp 1032 1056
DOI 10.15341 jbe 2155 7950 06.06.2015 002
     Academic        Star Publishing                Company 2015
http www academicstar us




            Demand for the Ultimate Fighting Championship An Econometric

                                                                    Analysis of PPV                          Buy Rates


                                                                     Richard        A McGowan1 John F Mahon2
                                         1 Boston College MA 02467 USA 2University of Maine ME 04469 5723 USA


        Abstract                This study provides                 a   framework           by which       the   UFC can analyze the determinants of its PPV buy

rates a form of direct                      demand         for the      UFC Accurately             deriving       demand is incredibly               important        in the    UFC?s goal

to maximize               revenue        and        further    grow      the     sport     and equally as important                   for promoters         TV and cable             networks

Given        that    the    endogenous                   growth of the         UFC has slowed greatly specific                         event     characteristics       have emerged as

the    primary factors               that     govern         the    buy rate Using a combination                          of empirical         regression      analysis      and industry

expertise           the    UFC and promoters and others can more accurately estimate the buy rates of upcoming events
        Key words gaming sports econometric analysis

        JEL codes C1 M1



        In     the       past    fifteen      years          the   sport       of   mixed     martial      arts    has      grown       from      no rules     bareknuckle             ?human


cockfighting?              into a highly professional                     and incredibly           popular mainstream                  sport     with millions      of fans         around the

world Since                purchasing              its   biggest    rival      in   2007     the   Las     Vegas based Ultimate                  Fighting     Championship               UFC
has been undisputedly                       the largest best              quality     and     most popular         MMA promotion                   in the   world        In 2008 Forbes

wrote an            article      calling      it     the    ? Ultimate      Cash Machine?                valuing     it    at     1    billion     Miller    Matthew         2008        Dana

White the president of the                           UFC estimated the company?s                        net worth         at     2.5   billion in    September         of 2010         Meyers

Tommy 2010 Georges St Pierre the UFC?s biggest star makes                                                           upwards            of     3 million per fight in prize             money

and    PPV Pay Per View sales bonuses and                                            then earns     millions of            dollars      from his endorsements by Gatorade

Under        Armour and other companies                                   Warner Brian             2013 The               international        market       for the      UFC        flourishes

especially in             Brazil Canada                    Japan and       the      United    Kingdom In Brazil middleweight                            champion Anderson                Silva


is   featured        in    Burger        King commercials and on major TV shows and has been                                                   called   ?bigger       than   Kobe Bryant

and Lebron               James?         Chiappetta           Mike 2012 While                    growth      in   popularity           has tapered       off in the       recent      years   the


UFC has already established itself as a staple                                      in the   sports     world

        Much of the UFC?s revenue                              comes in the forms ticket                   sales    to live       events       licensing     fees   to   cable       television


networks            to   broadcast          its     products        and     merchandise sales               but    the     majority of         the   UFC?s revenue             is    generated

through purchases                  of   its   televised        events       on      payper view         In this    study we            will   analyze the     factors that determine


the    number of buys                   a   given          UFC pay per view                event   gets which             will    be done        through     the    construction         of an




     Richard    A McGowan                   Professor of       Management            and   Statistics   DBA Carroll School              of    Management      Boston College           research

areas interests strategy                gaming           public policy    methodology         statistics   E mail mcgowan bc edu
     John   f Mahon             Chair of International             Business      Policy    and Strategy and Professor of Management                     DBA Maine Business              School

University      of Maine research                  areas interests       strategy public policy public affairs                 Email mahon maine edu

1032
469




              Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 3 of 26



                          Demand             for the Ultimate Fighting           Championship An Econometric                      Analysis of PPV            Buy Rates




      empirical       econometric             model Examining                 the determinants             of    the   promotion?s           pay per view buy             rates      provides

      insight into      deriving        demand for the               UFC


              1 Background                     Information


              UFC fights          take       place    in an    octagonal        cage between            two     fighters   of equal weight class accompanied                               inside


      the    octagon    by a referee             Most        bouts     consist   of three five minute rounds                      while       main      events     and title    bouts have

      five   five minute rounds                 Similar to boxing               the   UFC uses the 10 Point Must scoring system where each                                            of three


      judges awards 10                points to       the   perceived         round winner and             9 points or less to the round loser Scoring based on

      effective    striking           effective       grappling          aggression          and octagon            control      There          are 31    illegal     fouls    that       can    be

      committed         most common of which                         are strikes to the       back       of the     head throat eyes groin kidney or spine Other

      fouls    include head             butting       hair    pulling scratching              biting       fish     hooking       downward              elbow      strikes     kicks       to the

                                                                                                   1
      head of a grounded                 opponent           grabbing      the    fence       etc       Other than        the    specified          illegal   techniques        any        punch

      kick    elbow      strike         knee    strike        takedown         chokehold           or submission hold                is    fair    game A fight         can be        won by

      referee stoppage            due to a knockout             or submission              or won      by judges?       decision      if    time expires without              a finish


              There     are   8   different          weight    classes each           with   its    own champion               Originally          only 5 weight        classes       existed

      heavyweight             265       lb     maximum                light    heavyweight              205         middleweight                  185     welterweight              170         and

      lightweight        155            In    late    2010      the    UFC added             the    featherweight              145        and      bantamweight          135         divisions


      following the       discontinuation               of     the    Zuffa owned World                 Extreme        Cagefighting               promotion        The flyweight            125

      division    was added             in March       2012 as was the women?s                      bantamweight               135 division             in February     2013 The           UFC
      plans to add a women?s                   strawweight            115 division         in the      near future

              UFC events          consist of          13 fights       5 on the main card and               6 8 on the undercard For most events the main card
      is   broadcast    on    PPV for            44.95       for standard definition               and    54.95        for high    definition           with    the   exception of         UFC
      168 which        was        5   more PPVs are almost always scheduled                                for Saturday nights                at   10 00 PM EST The preceding

      undercard fights            are   broadcast on cable              TV and or streamed free online The UFC broadcasted                                          exclusively       through

      Spike    TV from 2005 2011                      but     that partnership         ended       when the Zuffa switched                        to   FOX Networks            to   broadcast

      UFC      events     and         other     shows          such     as    The     Ultimate         Fighter         UFC Unleashed                   highlight      shows         and    UFC
      Countdown promotions                      In 2013        the     UFC      put   on   26 events          per   year about            13 of which        were      PPV events The
      average     buy     rate        was roughly




                                                                                                                                                                                            1033
86




            Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 4 of 26



                  Demand   for the Ultimate Fighting   Championship An Econometric   Analysis of PPV   Buy Rates




     classes no time limits and essentially no rules     The event now known as UFC      1 drew




     1034
         Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 5 of 26



                        Demand             for the Ultimate Fighting                   Championship An Econometric                           Analysis of PPV             Buy Rates




expansionary            moves              The UFC has aggressively expanded                                        all    over the        world     holding events            in   Europe Brazil

Japan Australia                  China and the United Arab Emirates These                                             international          ventures       are   often pioneered by a             UFC
fighter   from the               region and sometimes include an international                                              season       of The Ultimate           Fighter Additionally               the


UFC continued to purchase                              and     discontinue           competing             MMA promotions                    including      World Extreme Cagefighting

Affliction Elite                 XC and Strikeforce                      In 2011 the UFC ended                             its   longtime     deal     with Spike          TV and struck a new
seven year deal with the much larger Fox Broadcasting Company

        Needless            to    say the UFC has proven                              its    significance            in the        sports    world With            its     business model          being

heavily      event      driven             there is       a need       for examination                of these            events    from an economic perspective                       The question

of    what    factors            most      significantly              drive     fan     interest in          a    given          UFC event       deserves         attention        from the    lens    of

sports econometrics




         3 Theoretical Demand for Sport

        The     basis of          demand          for the        UFC is derived from Borland and Macdonald?s                                            2003 study on demand                 for   sport

This     study measures                    direct       demand           for     the        UFC      in     the     form of         PPV buy          rates    In       constructing         theoretical


framework           for     demand              for   a live     sporting        event          Borland and Macdonald                        segment the          demand         determinants       into


five   categories

         1 form of consumer preferences ? habit age of club 2 economic                                                                          price   ?    travel        costs    income market

size     including           demographic                  composition            of population                    availability        of substitutes         TV other sporting events
macroeconomic                    factors        rate    of unemployment                        3     quality        of viewing           ?   quality of seating            and stadium stadium

size timing of contest                             4      characteristics              of     the     sporting            contest     ?      uncertainty      of         outcome       ? success?      of

competing           teams         quality         of contest           significance            of contest            and         5 supply     capacity       Borland         J       Macdonald        R
2003
        Transforming                  these       general         sport       demand           determinants                into    UFC specific          demand            determinants       requires


some twisting               of the     framework The                    first    category of consumer                        preferences is outside               of   any party?s control The

second       category             in addition             to    macroeconomic                  effects        deals        with     price    of viewership               Neoclassical        economic

theory    indicates              that price           has an inverse            effect        on     demand         ? as         price   goes    down       the   number of purchases               of a

product increases                     The       price     of    UFC PPVs                has        risen    significantly           in the      past    starting at          29.95     in    2001 and

inflating      to      44.95          in   2006        Since          then    the     price        has remained              the   same with the exception of UFC 168 which

was      5.00    more expensive The                            availability          of substitutes              especially         free   ones may also affect demand for a UFC

PPV The third category of quality of viewing                                                is not   applicable            here as every purchaser of the PPV views exactly

the    same broadcast The only difference would be standard definition                                                                   44.95 versus high definition                      54.95 but

the    ratio    of    SD         to   HD         buys      is    unable         to   be      found Event scheduling may                            also     play       a   factor    especially       the


frequency        of    UFC events And while the UFC schedules                                                 all    PPV events            on Saturday nights the                specific    weekend

in the    year may have                    an    effect      on buy rate The fourth category is the most relevant                                            to this       study    since    the   event

characteristics             has the most determining                          power over the buy rate as well as the most variation of all                                           the    categories

Lastly the          fifth    category supply capacity                           is not       applicable             as there       is no   limit   to the    number of PPVs that can be

purchased

        Of the event              characteristics               most important                 is the      set of    bouts        on the PPV main card                   highlighted       by the main

event fight Other event                         characteristics              include         the    number of championship bouts on the card the weight                                         classes


of the    fights       the       event      location            the    quality       and quantity of the promotional                            material etc             Since the    main event       is




                                                                                                                                                                                                    1035
206




              Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 6 of 26



                                 Demand            for the Ultimate Fighting               Championship An Econometric                           Analysis of PPV        Buy Rates




      generally      by        far the           most heavily promoted fight the main event                                      characteristics are of especially                    high    interest    In

      addition      to        title        and    weight       class    notable           characteristics          of    the     main event include              the     pre fight         betting     odds

      whether or not                  it    features      an Ultimate         Fighter           coaches          match     a grudge         match or a rematch                  the   nationalities       of

      the    fighters and                  more Various literature on the topic analyzes these effects                                            with different        degrees       of   rigor giving

      insight into            what event            characteristics          account           for the      variance     in     PPV buy rates


              4 Literature Review

              Though           rather          sparse     the    literature       on direct demand for the UFC does                               exist   and    is generally         quite insightful


      The     majority of                  pieces      come      in    the   form         of    posts       on MMA            blog sites         most of which            are    surprisingly          quite


      professional             Additionally               there have         been three peer reviewed econometric                                 studies on     demand for the UFC First

      we will review the conclusions of some relevant blog posts                                                    before       delving deeper           into   the   academic        studies

              A 2013 Yahoo Sports                               article      Napoli            Joe         2013 looks           at   simple      relationships          between        buy     rates    and

      determining             factors In his               qualitative           article        author Joe Napoli                 looks     at   how PPV numbers are influenced by

      weight classes                   title     fights    grudge       matches an Ultimate                        Fighter show            tie    in rematches competitive                    matchups

      and    certain          superstar fighters                 First he surmises                   that while there             no   direct     correlation        between        weight     class    and

      buy rate higher weight                           classes    do tend        to draw         more interest than lower weight classes This could be due to the

      longstanding notion                         that   bigger bodies attract                  more interest            or     to the    fact   that the    lighter     weights       are    newer     and

      less established                 than      the   heavier     ones Most              likely      it   is   a combination            of both    The     effect     of a title     fight   is difficult


      to measure              as champions               are    usually      successful          enough          to be draws regardless of a title                     Events can be successful

      regardless of              whether or not                 there is     a    title    fight           however      title     fights    give legitimacy             and   allow        semipopular

      fighters     to headline events                     that they       otherwise wouldn?t

              Grudge           matches though                    constrained          by a       low sample size apparently do generate                                 a spike in the         buy rate

      Therefore          it    makes             sense   for the      UFC to promote two fighters as bitter enemies although the shtick would                                                        likely


      get    old   with overuse                   A card tied in with The Ultimate Fighter reality show where the main event features                                                                a bout

      between       the        two coaches averages




      1036
940




           Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 7 of 26



                     Demand    for the Ultimate Fighting   Championship An Econometric   Analysis of PPV   Buy Rates




      Ultimate   Fighter   coaches   averaged




                                                                                                                       1037
67




               Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 8 of 26



                             Demand         for the Ultimate Fighting              Championship An Econometric                      Analysis of PPV            Buy Rates




     fights is        a dummy         variable     telling     if   the event           featured    preliminary matches streamed free online a practice                                            that


     was only beginning                at   the time but has              since     become         commonplace                The number           of    fights   on cable explains                the


     number of preliminary matches                        shown          free    on cable      television        before the         main card The              last variable              represents


     the      total   number of bouts             in the entire          event     The     rest of the     variables          are   dummies indicating                  whether or not             the


     bout      featured     a title    fight and if       so at which weight class

               The model was run using ordinary                           least     squares        multiple linear            regression      with       robust       standard          errors     The

     regression?s          r squared value was 0.6631                       meaning         that    66.31        of    the variation          in   PPV buys is explained                     by    this


     model The             regression results are          shown below


                                        Table 1         PPV Demand OLS Regression with White?s Robust Standard                                           Errors


                                                                            Coeff                        Std err                         t stat                          p         t



     PPV price                                                                    36406                      15796                        2.30                           0.024


     GDP per capita            thousands                                          62856                      38324                        1.64                           0.106


     Total population          thousands                                                  0.0122                       0.0191             0.64                           0.526


     Days since        previous event                                               1418                      1551                        0.91                           0.364


     Weekends                                                                     61007                    138536                         0.44                           0.661


     Holiday                                                                     228115                      89834                        2.54                           0.014


     International events                                                        194746                      65405                        2.98                           0.004


     Reality tie in                                                               30964                      88218                        0.35                           0.727


     Number of cable          TV fights                                           67486                      24632                        2.74                           0.008


     Internet streamed fights                                                       5167                     98280                        0.05                           0.958


     Feather      championship                                                   496127                    108186                         4.59                           0.000


     Welter championship                                                         152669                      69327                        2.20                           0.031


     Light championship                                                           67369                      52268                        1.29                           0.202


     Middle championship                                                          15305                      54934                        0.28                           0.781


     Light heavy        championship                                             188788                      70970                        2.66                           0.010


     Heavy championship                                                          274251                      72970                        3.76                           0.000


     Number of bouts                                                              59315                      30514                        1.94                           0.057


     Constant                                                                1133094                     4387842                          0.26                           0.797

     Note       Dependent      variable      is   PPV   buys        81    observations             Significant    at    the    10 level                 significant     at   the       5   level   and

             significant   at the   1   level




               According        to these      results after controlling                   for the    other   variables          in the    model the            attributes          that    draw the

     highest       PPV buy rates are the featherweight                            title      496K        the heavyweight              title         274K          the    light         heavyweight

     title       189K and finally                 the   welterweight            title       153K Events           shown on a holiday and events                              held outside          the


     US do significantly               worse than        the   benchmark group                 An event      is   expected          to lose




     1038
         Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 9 of 26



                          Demand        for the Ultimate Fighting                     Championship An Econometric                              Analysis of PPV             Buy Rates




dissuade         potential        customers               not   attract       them The         positive           coefficient             is   almost       certainly          due     to endogeneity                   as

the     price    of UFC           PPVs has increased                     as    the    popularity           of     the    sport        has      grown Omitting the                       earlier half             of the

dataset     would         likely       produce        different          more sensible results Second the featherweight                                                title       has never been                 a big
                  it?s




draw so                  extremely          high     coefficient            doesn?t pass            the     smell test By the                   start of       2012 only two featherweight

title   bouts had             occurred        both of which                 served as         co main events                   to the     welterweight               and    lightweight                 titles    UFC
129 and         UFC 136 respectively                           The     fact    that    the    featherweight                  title    was not the headlining bout coupled                                        by the

tiny    sample size               indicates         that the         featherweight            title    coefficient               is   wildly        incorrect         Nevertheless                     the    positive


effects     of the        heavyweight               and        light    heavyweight             titles       are    consistent              with our         hypotheses                 Third           we     remain

unconvinced              that    The Ultimate               Fighter         has no         significant       effect           on buy rate since                 these      UFC events are almost
always      the    most heavily promoted Despite its confusing                                             results Watanabe?s                    paper pioneered                    the analysis              of direct


demand for the UFC and                        laid the          groundwork            for future       study

         Scott    Tainsky             Steven      Salaga         and Carla Almeida                    Santos       wrote a 2013 paper                       Tainsky          Salaga                   Santos      2013

using the         same dependent                  variable            but     a slightly       different          set        of independent              variables           Their data                 spans     from

from     UFC 33 in September 2001 to UFC 132 in July 2011                                                          for a total            of 93 observations                   Their         study?s          primary

model was           the   following


         PPV buys                 _0        _1      TrendMonth                 _2     PostTUF                _3 TrendMonth                     PostTUF                _4 HolidayWeekend                                _5

                                SuperBowlWeekend                                      MainTUF                                MainBettingOdds                                 CoBettingOdds
                                                                              _6                                  _7                                                 _8                                                _9
                                MainTitleDefenses                        _10       CoTitleDefenses                      _11          CoTitleIndicator                 _12 MainTitleWW                              _13

                                MainTitleMW                     _14    MainTitleLHW                    _15        MainTitleHW                       _16 DaysSinceLastUFC                                     _17 Stars

                                      _18 NFLSub                 _19     NCAASub                _20 MLBSub                           _21 NBASub                _22 NHLSub                         _



         TrendMonth              is   a monthly            trend variable              starting        at    1    in    September 2001 and                      increasing              one           unit    for each

subsequent           month PostTUF                  is     a dummy            variable       that indicates             if    an event took place                after the           inaugural season                   of

The Ultimate              Fighter        Then             there is a        variable         that interacts             TrendMonth               with       PostTUF             HolidayWeekend                     and

SuperBowlWeekend                      are   dummies              indicating           scheduling            on special weekends MainTUF                                        is    an     ordinal           variable


counting         the     number of main event                        fighters      who have appeared                     on any season                  of The Ultimate                 Fighter This               is    a

novel way         at     measuring          the     effect      of    TUF instead of solely accounting                                 the     coaches? match at the end of the season

this variable            includes any fighter                   who has appeared                on any season of the show                               as a   coach        or      contestant               therefore


having      additional            exposure           MainBettingOdds                    and ComainBettingOdds                               represent          the    difference             in       the    pre fight

gambling          odds between              the fighters in the                 main and co main events respectively                                         the higher             variable?s           value         the


higher     the    perception            of a mismatch                   In traditional         sports        economic theory higher                            uncertainty             of outcome draws

more interest                 Borland       J             Macdonald            R 2003                 so    the    coefficients                on   these      variables             are     expected             to   be

negative          MainTitleDefenses                       and     CoTitleDefenses                represent              the          number of consecutive                          title    defenses             by     a

champion          in the        main and co main                       events      respectively             CoTitleIndicator                   is   a    dummy indicating                        if    the    co main

bout     features         a   title   fight    at   any weight              class meaning              that the              event     would        feature      two       title     fights           in one     night

The four title            dummy variables indicate if the main event                                         featured           a title     fight at        heavyweight               light           heavyweight

middleweight and                      welterweight              Strangely            the     study omits           the         lightweight          title    dummy variable                           here and         we

have      no     idea     as     to    why DaysSinceLastUFC                                counts      the       number of days                     since      the    last      UFC event                     PPV       or

non PPV             Stars       represents the                 number of ?star?               fighters           on the main card                       classified        as such           if        a fighter    is    a

current     or former            champion at any weight class Lastly                                       NFLSub NCAASub MLBSub                                      NBASub                and        NHLSub are

dummy variables                   indicating         if    a    UFC event             was held during                  the      regular        season       or playoffs             of the            NFL NCAA


                                                                                                                                                                                                                   1039
5




           Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 10 of 26



                       Demand     for the Ultimate Fighting         Championship An Econometric               Analysis of PPV     Buy Rates




    BCS Football         MLB NBA and NHL respectively                         These     variables     measures      for the   effect   of alternative    sports


    substitutes on a      UFC PPV buy rate

           Because      the   dependent        variable     is   skewed     right     the   study    estimates     a   generalized      linear   model    using

    maximum         likelihood    optimization       with   robust standard          errors The     r squared    was 6336 and          the results   of the   full


    model regression are shown below



                                          Table 2       PPV Demand Using Maximum Likelihood                   Estimators


                                                                       Coefficient                         Robust      SE                 z statistic



    TRENDMONTH                                                            5659.23                                3173.39                  1.78


    POSTTUF                                                            133427.50                              153550                      0.87


    TREND POSTTUF                                                          451.70                                3523.25                  0.13


    HOLIDAYWEEKEND                                                     110895.20                                81650.72                  1.36


    SBWEEKEND                                                            55962.37                               81133.99                  0.69


    MAINTUF                                                            117957.50                                49795.39                  2.37


    MAINBETTINGODDS                                                        163.99                                   72.81                 2.25


    COBETTINGODDS                                                            47.61                                  68.82                 0.69


    MAINTITLEDEFENSES                                                    29303.78                               14056.89                  2.08


    COTITLEDEFENSES                                                       5457.88                               38528.90                  0.14


    COTITLEIND                                                           99131.70                               76958.26                  1.29


    MAINTITLEWW                                                        232246.90                                65288.37                  3.56


    MAINTITLEMW                                                          42797.76                               88429.27                  0.48


    MAINTITLELHW                                                       156961.20                                76617.16                  2.05


    MAINTITLEHW                                                        304926                                   97748.52                  3.12


    DAYSSINCELASTUFC                                                      1264.47                                1266.92                  1.00


    STARS                                                                31046.44                               20556.43                  1.51


    NFLSUB                                                               35584.83                               62406.24                  0.57


    NCAASUB                                                               5458.44                               68642.21                  0.08


    MLBSUB                                                               14522.44                               60659.61                  0.24


    NBASUB                                                               26341.66                               66259.09                  0.40


    NHLSUB                                                               48353.84                               74238.60                  0.65


    CONSTANT                                                           258396.40                              177144.80                   1.46


    Note   1   R2   0.6336    p   0.10     p     0.05        p    0.01



           The TrendMonth          variable     is   positive    and    significant     explaining     that   there is      an average




    1040
99




           Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 11 of 26



                          Demand   for the Ultimate Fighting       Championship An Econometric        Analysis of PPV     Buy Rates




     champion defeats        more challengers           This   variable   cleverly   accounts   for the   degree   of dominance   of   a   champion

     and   hints   that   people   are   more    willing    to pay to     see a   champion who has proven           his   dominance        The UFC?s

     biggest   draws are frequently        its   best   fighters   who    are often   dominant    champions so this variable makes sense

     The CoTitleInd        variable   suggested     that   a second   title   on the card   raises buy rates   by




                                                                                                                                                 1041
        Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 12 of 26



                     Demand     for the Ultimate Fighting               Championship An Econometric               Analysis of PPV       Buy Rates




                                                   Table 3       PPV Demand            using Tainsky?s Regression


Dependent       Variable is   UFC Pay perview Buy rate

                                                                  Coeff                        Std   Err                   t stat                     P      t

PPV Price                                                               30071                        24759                   1.21                     0.23


Population      Millions                                                  125                        96866                   0.00                     0.999


GDPAdj                                                                     71.00                         157                 0.45                     0.653

Recession                                                               76258                      119450                  0.64                       0.526


Time                                                                    70461                      334861                    0.21                     0.834

Time Squared                                                             3903                        99512                 0.39                       0.696


Weekend                                                             238813                         103297                  2.31                       0.025

Holiday                                                             118923                         152674                  0.78                       0.439


Days From Prev       Event                                               1588                         1888                 0.84                       0.404


Fight Number       on Cable                                             67750                        31825                 2.13                       0.038


Reality                                                                      0                    omitted                                             0.63


Flyweight      Champ                                                         0                    omitted

Bantam Champ                                                        109201                         133864                  0.82                       0.418


Feather     Champ                                                   374998                         101117                  3.71                       0.000


Welter Champ                                                        151302                           88767                   1.70                     0.094

Lightweight      Champ                                                  92194                        66530                   1.39                     0.171


Middleweight       Champ                                                29714                        67863                 0.44                       0.663

Light heavy      Champ                                              176568                           70714                   2.50                     0.016


Heavyweight       Champ                                             272283                           79800                   3.41                     0.001

Bouts                                                                   39740                        40243                   0.99                     0.328


Internet Streaming                                                      18431                      154067                   0.12                      0.905

Constant                                                           2448153                     2.69E 07                    0.09                       0.928




          5 Methodology

         5.1   Data Collection

         Unfortunately        the    datasets     used by Watanabe              and Tainsky       in their research     papers      was unattainable         thus this

study uses a dataset          built   from scratch            The dependent        variable       data    comes   primarily   from mmapayout com which
                                                                                                                                                  3
compiles        information         from industry        insider    Dave         Meltzer    of the       Wrestling     Observer      Newsletter       The data on

independent        variables    come from a variety of sources including                            UFC com sherdog com mmafighting com and a
number of other websites crosschecked                            against    each other       to    ensure      accuracy   The     GDP per capita          data   comes
                                              4                                                                                          5
from the World           Bank website             and   the   population        data   comes   from the US Census website

         The   dataset     records 105 observations                starting       with   UFC 57          in February   2006 and ending with UFC 170                  in


February        2014 The        only PPV event                omission     was UFC 151                the    only canceled      event    in   UFC     history     PPV
numbers prior         to   UFC 57 were            not   available       on mmapayout           com and though likely findable are not especially
important to this study Now                that the      UFC has established             itself    as a staple of the     sports world        growth has slowed

significantly       ameliorating        the   need      to    account    for     endogenous        growth of the sport        The focus of this study is on

the     UFC?s buy rates after its surge into mainstream popularity not during it




3
    ?Blue   Book Pay Per View? MMAPayout com
4
    ?GDP per Capita   Current US$)? World Bank
5
    US
    ?       and World Population       Clock?      US Census



1042
        Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 13 of 26



                      Demand             for the Ultimate Fighting                     Championship An Econometric                  Analysis of PPV                Buy Rates




        5.2    Model           Variables

        To estimate direct demand for the UFC                                          in the    form of PPV buy rates we employed two slightly                                          different


models which           will      be analyzed using ordinary                              least   squares       regression        analysis      The two equations Model 1 and

Model       2 are
        Model 1

        PPV buys               _0          _1
                                                 GDP Per Capita                          _2 Population                 _3 International                _4 TUF               _5 PctFree          _6

                           HWTitle                    _7    LHWTitle                   _8 MWTitle                 _9   WWTitle           _10     LWTitle                 _11 FWTitle          _12
                           BWTitle                    _13       FLWTitle                 _14 WomensTitle                     _15 WWTitleCo                         _16 LWTitleCo              _17

                           FWTitleCo                    _18 WomensTitleCo                           _iFighterID          Dummy           _


        Model 2

        PPV buys               _0          _1 GDP Per Capita                             _2 Population                 _3    International
                                                                                                                                                       _4     TUF           _5    PctFree       _6

                          HWTitle                       LHWTitle                       MWTitle                 WWTitle                 LWTitle                     FWTitle               BWTitle
                                                  _7                              _8                      _9                     _10                     _11                       _12

                                 _13 FLWTitle                    _14 WomensTitle                       _15 Titles        _15 Supercard _iFighterID Dummy

        The    difference           lies    in interpreting                 the    data     when        there is       more than       one     title     fight      on    the    card   Model 1

specifies      which     title      is    being       contested         in the         main event versus               the   co main event             the   ?? co?      suffix indicates      the


co main event          title     bout Model                2 accounts             for all     titles    contested       in the   event   without         distinguishing            which    is the


main or co main event Additionally                                    the titles        variable       takes    the    value 1 to denote          that       the   event    features     two title

fights      The Supercard variable                         takes      the   value of 1 for three                  specific     UFC events              UFC 100 112 and 168                    that


featured       multiple particularly                   high draw title                 fights      The     criterion     for   supercard        is     that the      event       must   feature   2

title   fights   neither       of which           is a     men?s title            fight at    featherweight or lighter division This has only happened                                       three


times in       the   UFC each of which was vigorously                                        promoted as            a ? supercard?       An explanation                   of the independent

variables      and   their     meanings in each model can be found below



                        Table 4            An Explanation               of the Independent               Variables      and Their Meanings             in Each       Model

Variable                  Description


gdppc                     GDP per capita               of the      US the year          the event      occurred

population                Population of the                US the year the event              occurred


international                  1 if      event   occurs     outside      of the        US or Canada
tuf                            1 if      main card features            Ultimate Fighter            coaches     fight



pctfree                   Percentage             of   UFC events         free on cable        TV that year

hwtitle                        1 if      main event        is   heavyweight            265 title
lhwtitle                       1 if      main event        is light    heavyweight            205 title
mwtitle                        1 if      main event        is   middleweight            185 title

Model      1
wwtitle                        1 if      main event        is   welterweight           170 title

lwtitle                        1 if      main event        is   lightweight        155 title

fwtitle                        1 if      main event        is   featherweight           145 title

bwtitle                        1 if      main event        is   bantamweight            135 title
flwtitle                       1 if      main event        is   flyweight         125 title

womenstitle                    1 if      main event        is   women?s      bantamweight               135 title
wwtitleco                      1 if      co main event is WW                 170 title

lwtitleco                      1 if      co main event is LW                155 title
fwtitleco                      1 if      co main event is FW 145 title
                                                                                                                                                                    Table   4 to be continued




                                                                                                                                                                                              1043
         Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 14 of 26



                     Demand        for the Ultimate Fighting             Championship An Econometric                Analysis of PPV       Buy Rates




 Table     4 continued

flwtitleco                  1 if   co main event is FLW            125 title

 fighterID                  1 if   fighter fights in main event


Model      2
wwtitle                     1 if   main or co main event           is   WW   170 title

lwtitle                     1 if   main or co main event           is   LW 155 title
fwtitle                     1 if   main or co main event           is   FW 145 title
bwtitle                     1 if   main or co main event           is   BW 135 title
flwtitle                    1 if   main or co main event           is   FLW 125 title
womenstitle                 1 if   main or co main event           is   women?s    BW 135 title
titles                      1 if   event   features   2 titles

supercard                   1 if   event   features   2 titles    neither of which are         FW BW or FLW
 fighterID                  1 if   fighter fights in main or co main




           6 Results

          For   differing   purposes          we ran        three regressions            of each both       Model     1   and    Model       2 The three different
regressions were              a a model omitting fighter ID variables                             b the full model including              fighter     ID variables        c
full     model   since   2008 reduced            to include        only significant            variables   The     results of regressions            1A and 2A are the
following


Regression 1A


Source                   SS                            df                                MS                           Number of obs            103


                                                                                                                      F 17 85         6.07

Model                    3.5259e 12                    17                                2.0741e 11                   Prob      F    0.0000

Residual                 2.9050e 12                    85                                3.4177e 10                   R   squared      0.5483


                                                                                                                      Adj   R   squared      0.4579

Total                    6.4309e 12                    102                               6.3048e 10                   Root MSE         1.8e 05


buys                                Coef                     Std Err                t                      P   t                 95 Conf                Interval

gdppc                                         68.4                      41.39133        1.65               0.102                       150.7585                13.83555


population                                 16307.8                  9099.711            1.79               0.077                      1784.772             34400.56

international                          137499.1                   61233.72              2.25               0.027                    259248.2               15750.08

tuf                                    203653.2                   75135.19              2.71               0.008                     54264.34             353042.1

pctfree                                394186.3                  637095.8               0.62               0.538                    872530.9            1660904

hwtitle                                196410.9                   64410.42              3.05               0.003                     68345.71             324476.1

lhwtitle                               133791.0                   58836.13              2.27               0.025                     16808.99             250773

mwtitle                                    89740.6                61995.56              1.45               0.151                     33523.14             213004.4

wwtitle                                223910.6                   63480.39              3.53               0.001                     97694.59             350126.6

lwtitle                                    12023.3                61724.2               0.19               0.846                    134747.6              110700.9

fwtitle                                    52073.5               117721.9               0.44               0.659                    286136.2              181989.2

bwtitle                                    82905.4               189332.2               0.44               0.663                    459348.6              293537.7


flwtitle                                        0                omitted

womenstitle                                66292.5               190442.8               0.35               0.729                    312358.8              444943.9

wwtitleco                              702643.0                  208255.4               3.37               0.001                    288575.6            1116711

lwtitleco                                  92065.0               202924.4               0.45               0.651                    311403.1              495533.1

fwtitleco                                   3650.9               139962.9               0.03               0.979                    274632.7              281934.6

womenstitleco                          347898.7                  209893.4               1.66               0.101                     69425.69             765223

 cons                                1426149.0                1407674                   1.01               0.314                 4224981                1372684




1044
            Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 15 of 26



                           Demand              for the Ultimate Fighting               Championship An Econometric                          Analysis of PPV          Buy Rates




Regression 2A


Source                                          SS                        df                                         MS                                   Number of obs             103

                                                                                                                                                          F 16 86           6.39

Model                                           3.5259e 12                16                                         2.1837e 11                           Prob       F     0.0000

Residual                                        2.9371e 12                86                                         3.4152e 10                           R   squared       0.5433


                                                                                                                                                          Adj    R   squared       0.4583

Total                                           6.4309e 12                102                                        6.3048e 10                           Root MSE           1.8e 05


buys                                          Coef                    Std      Err            t                             P    t                       95 Conf                  Interval

gdppc                                                  73.6                      41.37615         1.78                      0.079                                155.9242                      8.581954

population                                       17377.9                       9087.469           1.91                      0.059                                687.3093              35443.27


international                                  145820.8                     60018.75              2.43                      0.017                          265134.2                    26507.5

tuf                                            222985.2                     72741.6               3.07                      0.003                           78379.69                 367590.7

pctfree                                        506547.0                  644542                   0.79                      0.434                          774760                  1787854

hwtitle                                        202730.5                     63627.87              3.19                      0.002                           76242.45                 329218.5

lhwtitle                                       130426.5                     59699.04              2.18                      0.032                           11748.75                 249104.3

mwtitle                                          75529.8                    61281.42              1.23                      0.221                           46293.6                  197353.2

wwtitle                                        227028.8                     63184.55              3.59                      0.001                          101422.1                  352635.5

lwtitle                                          21552.3                    60525.07              0.36                      0.723                          141872.2                    98767.51


fwtitle                                          93854.3                 107640.4                 0.87                      0.386                          307836.3                  120127.6

bwtitle                                          83865.7                 189259.9                 0.44                      0.659                          460101.9                  292370.5

flwtitle                                       125057.3                  251675.5                 0.50                      0.621                          625371.7                  375257

womenstitle                                      54700.0                 155124.9                 0.35                      v                              253678                    363078.2

titles                                           52823.2                 149785.5                 0.35                      0.725                          244940.4                  350586.9

supercard                                      234146.6                  202057.7                 1.16                      0.250                          167530.7                  635823.9

     cons                                     1544684.0                  1405395                  1.10                      0.275                        4338517                   1249149



            First    the    macroeconomic                       variables?      coefficients       surprised           us While        it    makes       sense      demand increases                 with a

larger           addressable            audience            one      would       expect      demand             to   rise   with       GDP         per    capita      as    well however                the


coefficient             on GDP per               capita         is   negative in both         models International                     events        are   expected          to   do    significantly


worse than ones held in the                               US or Canada This could be due to the UFC scheduling generally lower quality cards
on their          international               events       As expected           the   Ultimate         Fighter reality          tie   in was       strongly         positive     and     statistically


significant             The percentage                  of free events          had no significant              effect


            In    regards          to    the      title     effects         welterweight                223K 227K                    heavyweight                 196K 202K                     and    light


heavyweight                   134K 130K have the largest positive effects on buy rate While the middleweight                                                                           title   too    has a

positive coefficient                     it    is not     statistically        significant    at a       legitimate level            in either       regression           In regression         1A the
welterweight               title    and women?s                 titles   have    significant       effects        as   co main events However                        these     isolated        incidents


occurred           at   UFC 100 and 168 two of the promotion?s biggest shows                                                        ever     so while         the    positive       coefficients        do

make sense they should be taken with a grain                                            of salt Either           of those bouts could                easily      headline an event of their

own and their status                          as the    co main event            fight indicates that the                 UFC was putting                on a ?supercard? which brings

us     to    regression            2A Neither the titles nor supercard variables were significant but the rest of the coefficients
makes sense This would                               hint that putting           a second     title      fight       on a card      does     not    necessarily           improve       the    buy rate

it    has    to be      a high demand fight on its                       own to affect the buy rate as the co main event

            Our     r squared values                      are    5483 and            5433    in    regressions              1A and          2A respectively                lower     than       those     in


Tainsky?s            0.6336             and Watanabe?s                0.6248 papers               but    the    coefficients         on the variables are very similar All three

studies           agree      that        the     heavyweight              welterweight             and         light    heavyweight            titles      are      the    biggest        draws        that




                                                                                                                                                                                                       1045
       Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 16 of 26



                        Demand      for the Ultimate Fighting                      Championship An Econometric                              Analysis of PPV            Buy Rates




international       events       do worse than ones held                           in the    US and that The Ultimate Fighter has a does positively effect
buy rate all ceteris paribus

        The next set of regressions adds                              the    fighter      ID variables              Regression               1B had an r squared                    value     of 0.8328

and regression           2B had an        r squared                at 0.7867        The     full         results of these regressions can                        be viewed          in the     appendix

The main takeaway                from these               regressions is that the effects                      of the      titles       diminish greatly               after controlling             for the


identities     of the     fighters in         those        title     fights       For example               while Georges               St Pierre welterweight                      champion of the

UFC the welterweight                    title       had        a hugely           positive      coefficient             However                  the    coefficient?s        value      was such not

because       of the importance                 of the          welterweight           belt but because                   of      the   drawing            power       of    St Pierre After the

addition      of   the fighter      ID control variables only                             the       heavyweight           title     still        has a statistically          significant           positive


coefficient        in   both     Model          1    and Model               2 The welterweight                     title?s       effect         has     been     correctly       reapportioned           to


Georges St Pierre and the                     women?s              title?s   effect    has been reapportioned                        to Ronda             Rousey

        Consistent        with    regressions                  1A and        1B the GDP per                    capita      coefficient                 stays    negative      and      the    population

coefficient        remains       positive                The    Ultimate           Fighter          dummy          coefficient              is    again     significant          and positive           The

international       variable        however               has gone from significant                         and negative to statistically                       insignificant          demonstrating

that the     location      of the    event          matters not             after controlling               for the     fighters        on the card This                   indicates that the         UFC
schedules      a   weaker        card    when holding                  a    UFC event           abroad         hinting        that      they       believe       demand for live attendance

is   more inelastic abroad than                     it   is in the     United States                 The     coefficient          on the percentage                   of free    fights is strangely


negative       predicting        that    the        higher the         ratio       of free          to   PPV UFC events                     the        higher   the    buy rate        will    be   for the


PPV events
        As for the drawing power                          of the      fighters       themselves              the    5    individuals              with the highest            positive        coefficient


across     both    models are Brock Lesnar                            HW           Georges St Pierre                    WW         Anderson              Silva     MW BJ Penn LW                        and

Ronda      Rousey          Women?s            BW           Exactly           what makes              these    fighters         particularly              high draws          is a   whole       different


discussion entirely but                 the     fact      remains that they possess a                         certain      flair     that         has proven          to   draw abnormally high

interest


        Regressions         1C and 2C are                     identical      to    1B and 2B respectively                         except          the    observations begin             in     2008 The

reason     for this is     twofold?        first         to    remove the          factor      of latent growth of the UFC                              from 2006 and 2007 and second

to use    a more updated            roster          so fighters         who are no longer relevant                         don?t        factor          in After being reduced                 to   include

only    statistically       significant              variables          the       r squared              values    are    0.8466            for        3A and      0.8023        for    3B The          five


aforementioned             fighters      continue to have                     statistically              significant      positive           coefficients             Other      fighters      with    high

drawing       power       include       Quinton                ?Rampage?            Jackson               LHW           Jon Jones                LHW           Shogun Rua              LHW          Rashad

Evans        LHW          Nick    Diaz          WW              ChaelSonnen                 MW             Lyoto    Machida                 MW           and Antonio             Rodrigo       Nogueira

HW           Cain       Velasquez          the           current      heavyweight                   champion            had       the       only        statistically        significant        negative

coefficient        This    is likely      due to the unmatched                        drawing power                 of    previous heavyweight                         champion Brock Lesnar

and    the    resulting        inflation            of    the      heavyweight              title        coefficient       Lastly            the        coefficients        on    GDP         per    capita

population         and percent          free fights            remain        the   same as in regressions 1B and                                 2B


         7 Conclusions

        The   results      of our study              are not        good news          for the            UFC as a company The most important                                       takeaway         is that


the    identities       of the   fighters           competing           matter        more than any title                     they      would           be competing             for   Thus         when it

comes      to generating          abnormally                  high    PPV buy rates the fighter                          has      more drawing power than the brand                                    This




1046
        Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 17 of 26



                         Demand             for the Ultimate Fighting                     Championship An Econometric                             Analysis of PPV             Buy Rates




conclusion            could be used as an argument                                  for    fighters        to    get    a    larger         percentage       of    the       PPV revenue                  since        the


fighters        themselves             not        the    UFC         titles   are     what truly drive PPV buy rates That                                   is    not    to say          that titles        have       no

effect      on buy rate They certainly do and almost sure contribute                                                         to a   higher        buy rate if a popular                  fighter     is in         a title

fight What they don?t                            do however            is turn       an unpopular               fighter      into      a draw simply because                       he    is fighting              for the


title


           That    being said               the        UFC heavyweight                    championship              appears            to    generate       more interest as a                   title      than       the


individuals             who      fight           for    it    It    seems     that        viewers         are     always        interested            in the      heavyweight                championship

regardless of            who         is fighting             for that title        The      light        heavyweight           title    comes        in    second       after       that however                   there


is    no    clear       third        The          longtime          welterweight                champion          Georges           St       Pierre    just      recently           vacated        his       title     on

December of 2013                      so the near              future will         determine whether                    or not       the     welterweight            title    continues          to be        a draw

without         him The same goes                            for recently          dethroned middleweight                           champion Anderson                        Silva       There     is      potential


that    the     legacies       left    behind            by these           superstar champions                   translate         into     a    lingering      interest for that               specific            title


but     that is wildly          speculative                  Lastly title      fights at male weight                     classes lighter             than 155 pounds                 generate            little    to no


additional interest                  in a    UFC event
           While      originally            it   appeared           that international             events        contribute          to     lower    buy rates than                events    held in the               US

and Canada              this    was revealed                  to be false after                controlling        for the       fighters          on the card As mentioned previously

the     UFC elects to put on weaker cards for                                      its   international           events        possibly due to the perception                             that international


demand depends                  more on the UFC brand and less on                                         the    fighters More               likely       however            is that the         UFC chooses

fighters        that would            have a bigger impact overseas                               than they         would in the United States For example Denis Siver

is    a middling featherweight                          fighter        of   German nationality so the UFC put him on                                           the    main card when it held an

event       in Germany               Similar strategies have                    been used for the UFC?s foray into Brazil Australia Sweden

           Scheduling          variables               seem        to have    no significant              effects       on UFC buy rates as long as                                the   UFC continues                   to


air    events      at   10 00 PM EST on                            Saturday nights While                   we did not include many scheduling variables in our own

models the              results       from literature                 induce us           to    believe         that   minor variations                in   scheduling              do not       significantly


affect      direct      demand for UFC Surprisingly the model                                               predicts          that      broadcasting             more free UFC                   events           would

contribute to           higher        PPV buy rates
           In   conclusion            the         UFC should be most concerned                                  with creating               and    promoting          superstars            as they are the

main causes             of    high buy rates Instead                          of    heralding            their    champions             as    must see fighters they should focus                                      on

identify        the     fighters        who have                   demonstrated drawing                     power        and        spend        efforts    promoting               them This               is     much

easier      said than        done as superstar fighters do                                not   come       easily      or often Additionally                     as a sports league as well                           as a


promotion          company              the       UFC has the obligation                        of treating        their fighters                equally not accounting                    for   how popular
the fighter        may be



           8 Further Discussion

           Though        we      are    comfortable                  with     the        conclusions            of our       model           there    is    always           room for improvement

Several         omitted       variables exist that                     are ideally incorporated                     into     the    model including                  the      number of top 5 ranked

fighters        on the card the                   differences in betting                   odds      between           the   fighters whether or not                         the   main event has been

changed         due to injury the number of consecutive                                          title    defenses       by a champion and more Interaction of fighter ID

variables         with       title    fights           could        also    prove        insightful         In an       ideal       world          there is      a dummy             for    every          fighter?s


appearance            in the         main event co main event                             or other        main card bout Much                       of these       variables             could be found                by




                                                                                                                                                                                                                     1047
        Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 18 of 26



                       Demand         for the Ultimate Fighting              Championship An Econometric                     Analysis of PPV             Buy Rates




intensively        scouring      the    internet      but time and resources                  were insufficient           to    complete such            a task


        This study provides               a   framework             by which the UFC can analyze the determinants of its PPV buy rates a

form of direct            demand        for the     UFC Accurately                   deriving       demand        is incredibly         important          in the     UFC?s        goal   to


maximize revenue               and     further    grow       the    sport Given           that the     endogenous          growth        of   the   UFC has slowed greatly
specific     event     characteristics         have emerged as                 the    primary factors          that    govern      the    buy rate Using a combination

of empirical         regression analysis             and industry expertise                   the   UFC can more accurately estimate the buy rates of                                     its



upcoming events


References

?Blue    Book Pay Per View? MMAPayout com                            available      online   at http mmapayout com blue book pay per view

Borland    J and Macdonald R 2003 ? Demand                                 sport?    Oxford Review      of Economic Policy Vol 19                   No 4 pp 478 502



       acomprehensive
                                                                     for



Chan     Oliver     2013 ?CagePotatopresents                  A comprehensive            breakdown      of the    UFC?s    PPV numbers          ? And how            they    can   improve

       them?       CagePotato          Break   Media         13     Mar      2013     available      online    at   http www cagepotato                  comcagepotato presents
                              breakdown       ofthe ufcs ppv numbers and how theycan improve them




       brazilanderson
Chiappetta      Mike        2012     ? Ed Soares In Brazil            Anderson Silva a Bigger Star than                Kobe      and   LeBron       in   U   S.?   MMA Fighting SB
       Nation        18       Oct      2012       available         online       at      http www mmafightingcom 2012 1018 3521392 ed soares in
                   a bigger star than kobe and lebron
                     silva

Clow Kenneth  E and Donald Baack 2012 The Ultimate Fighting Championships                                                The    Evolution     of a Sport      ?    Cases     in Marketing


       Management Thousand Oaks CA SAGE 2012 pp 110 120

?GDP         per            Capita        current           US$)?            World           Bank       World            Bank          Group             available          online        at

       http data worldbank org indicator NY GDP PCAP CD
Meyers     Tommy            2010      ? How    much    is     the   UFC worth??              MMAmania com SB Nation                      23 Sept         2010      available    online    at

       http www mmamania com 2010 9 23 1707472 how much is the ufc worth
Miller     Matthew            2008       ? Ultimate      cash        machine?          Forbes        Forbes       Magazine         7     Apr        2008      available        online     at

       http www forbes comforbes 2008 0505 080 html
Napoli Joe        23 Sept     2013 ?UFC PPV buy rate analysis of main events What                                generates      big buy rates??      Yahoo Sports            NBC Sports
       available    online    at http sports yahoo com news ufc ppv buyrate analysis main events generates big 192000156                                                     mma html
Plotz       David             1999         ? Fight          clubbed?             Slate        Magazine            19         Nov         1999            available          online        at

       http www slate com articles briefing articles 199911 fight clubbed html
?Rules    and regulations?           UFC com available            online at      http www ufc com discover sport rulesand regulations
Tainsky    S       Salaga    S and Santos C A                2013          ? Determinants of        pay per view broadcast             viewership        in sports     The     case   of the

       ultimate fighting       championship?         Journal        of Sport     Management Vol 27 pp               4358
?US and World Population Clock? US Census US Census Bureau available online at https www census gov popclock
WarnerBrian  2013 ? How Georges St Pierre makes   5 6 million per UFC fight? Celebrity Net Worth N p 17 Nov 2013 available
   online at http www celebritynetworth com articles entertainment        georges stpierre5 million ufc fight
                                                                                                      articles



Watanabe       Nicholas        2012      ? Demand       for    pay perview            consumption      of     ultimate    fighting      championship          events?       International

       Journal     of Sport Management           and Marketing             Vol 11 No         3 4 pp 225 238
Watanabe     Nicholas         2013     ?Sources      of direct      demand       An examination        of   demand     for the ultimate       fighting       championship?         Western

       Economic Association International                Conference Seattle              28 June 2013? 2 July 2013




1048
300




         Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 19 of 26



                    Demand    for the Ultimate Fighting       Championship An Econometric    Analysis of PPV   Buy Rates




                                                                      Appendix

         PPV Buy Rates Breakdown




                      Avg             Change          Avg                                          Total           Change   Total
      Year   PPVs                                                   StDev    Min       Max
                      Buys           Average         Rank                                          Buys            Total    Tank

      2006   10      527000                               4        233538   300000   1050000     5270000                      7


      2007   11      448636           14.87               7        142690   200000   675000      4935000          6.36        8


      2008   12      527083           17.49               3        262492   215000   1010000     6325000          28.17       4


      2009   13      616923           17.04               1        351944   350000   1600000     8020000          26.80       2


      2010   15      587000           4.85                2        264128   240000   1060000     8805000           9.79       1


      2011   16      405313           30.95               8        170855   225000   800000      6485000          26.35       3


      2012   13      448846           10.74               6        236178   150000   925000      5835001          10.02       6


      2013   13      468846           4.46                5        271187   150000   1025000     6095000           4.46       5


      2014    2      285000                               9         77781   230000   340000        570000




                                                                                                                                  1049
         Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 20 of 26



               Demand     for the Ultimate Fighting   Championship An Econometric       Analysis of PPV   Buy Rates




Data Summary Statistics


Variable                        Obs                     Mean               Std Dev              Min                     Max

buys                            105                     498476.2           250574.5             140000           1600000

gdppc                           105                      49115.11            1858.383            46444                51749


population                      105                        308.4185              5.617441          298.4                316.14


pctfree                         105                            0.430011          0.0707432            0.35                0.5806452


title                           105                            0.6761905         0.4701726            0                   1


titles                          105                            0.0666667         0.2506402            0                   1


internatio l                    105                            0.1333333         0.341565             0                   1


tuf                             105                            0.0857143         0.2812843            0                   1


hwtitle                         105                            0.1238095         0.3309438            0                   1


lhwtitle                        105                            0.152381          0.3611135            0                   1


mwtitle                         105                            0.1333333         0.341565             0                   1


wwtitle                         105                            0.1142857         0.3196839            0                   1


lwtitle                         105                            0.1142857         0.3196839            0                   1


fwtitle                         105                            0.0285714         0.1673977            0                   1


bwtitle                         105                            0.0190476         0.137348             0                   1


flwtitle                        105                            0                 0                    0                   0


womenstitle                     105                            0.0190476         0.137348             0                   1


wwtitleco                       105                            0.0095238         0.09759              0                   1


lwtitleco                       105                            0.0095238         0.09759              0                   1


fwtitleco                       105                            0.0285714         0.1673977            0                   1


flwtitleco                      105                            0.0095238         0.09759              0                   1


womenstitl o                    105                            0.0095238         0.09759              0                   1




1050
17




         Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 21 of 26



                     Demand   for the Ultimate Fighting   Championship An Econometric   Analysis of PPV   Buy Rates




     Regression 1A


     Source                    SS                    df                  MS                      Number of obs    103


                                                                                                 F




                                                                                                                        1051
        Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 22 of 26



                Demand        for the Ultimate Fighting       Championship An Econometric   Analysis of PPV   Buy Rates




Regression 1B   ? Full Model

Source                                      SS                       df             MS                    Number of obs           103

                                                                                                          F 49 53         4.09

Model                                       5.0849e 12               49             1.0377e 11            Prob       F   0.0000

Residual                                    1.3461e 12               53             2.5397e 10            R   squared      0.7907


                                                                                                          Adj    R   squared      0.5972

Total                                       6.4309e 12               102            6.3048e 10            Root    MSE      1.6e 05


buys           Coef               Std Err                 t                     P   t                95 Conf             Interval

gdppc                 129.779            45.51742             2.85              0.006                    221.0754                  38.48262

population        26014.14           10129.35                 2.57              0.013                   5697.23                46331.06

internatio l      23022.55           67545.72                 0.34              0.735                 158502.1             112457

tuf             210285.7             77344.8                  2.72              0.009                  55151.64            365419.7

pctfree         1857270             798529.6                  2.33              0.024                 255622.3           3458917

hwtitle         278679.7            100285.2                  2.78              0.008                  77533.01            479826.3

lhwtitle          90337.91           85512.42                 1.06              0.296                  81178.27            261854.1


mwtitle           11745.86           98508.08                 0.12              0.906                 185836.3             209328.1

wwtitle            9572.237         151470.8                  0.06              0.950                 313384.2             294239.7

lwtitle           35334.2            89154.79                 0.40              0.693                 143487.7             214156.1

fwtitle           90913.24          189478.8                  0.48              0.633                 470959.6             289133.2


bwtitle         225390.4            241405.5                  0.93              0.355                 258807.7             709588.6

flwtitle                  0        omitted

womenstitle     212312.2            179101.7                  1.19              0.241                 146920.4             571544.8

wwtitleco       294676.5            224114.3                  1.31              0.194                 154839.7             744192.8


lwtitleco         41830.94          182978.6                  0.23              0.820                 325177.7             408839.5

fwtitleco         99465.08          135789.8                  0.73              0.467                 172894.8             371825

flwtitleco      210543.9            220173.2                  0.96              0.343                 652155.5             231067.6

womenstitl o    364548.4            197762.4                  1.84              0.071                  32112.74            761209.6


liddell         182182.4             78240.78                 2.33              0.024                  25251.27            339113.5

couture           66888.18           79965.42                 0.84              0.407                  93502.14            227278.5

ortiz           102161.4             96161.66                 1.06              0.293                  90714.44            295037.3

hughes             9281.918         102561.6                  0.09              0.928                 196430.6             214994.4


gsp             360040.8            145754.7                  2.47              0.017                  67693.88            652387.7

gspco                     0        omitted

penn            155970               83616.51                 1.87              0.068                  11743.49            323683.5

pennco                  0          omitted


rampage         165727.5             79877.26                 2.07              0.043                   5514.031           325941

asilva          200732.3             95224.26                 2.11              0.040                   9736.605           391728

jonjones          61493.01          103711.3                  0.59              0.556                 146525.4             269511.5

lesnar          384517.6             88163.85                 4.36              0.000                 207683.4             561351.9


jds               41260.2           130079.7                  0.32              0.752                 219646.5             302167

velasquez       139334.3            130021.7                  1.07              0.289                 400124.8             121456.1

rousey                    0        omitted

rouseyco                  0        omitted


aldo            121592.6            211417.6                  0.58              0.568                 302457.5             545642.7

aldoco                  0          omitted

faber             98935.78          189145.9                  0.52              0.603                 478314.5             280442.9

shogun          101502.8            107074.1                  0.95              0.347                 113260.6             316266.2


dhenderson        48850.1            92333.84                 0.53              0.599                 234048.3             136348.1

evans           142287.6             73044.46                 1.95              0.057                   4221.003           288796.3




1052
         Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 23 of 26



                Demand       for the Ultimate Fighting            Championship An Econometric    Analysis of PPV     Buy Rates




franklin          59386.28               88482.48                 0.67              0.505                     236859.7              118087.1


belfort         179777.2              130954.4                    1.37              0.176                      82884                442438.5

bisping            1284.667           185546.2                    0.01              0.995                     370873.9              373443.3

wsilva            26455.41            128137.2                    0.21              0.837                     283466                230555.2

sonnen          150863.4              114621.4                    1.32              0.194                      79038.13             380764.9


barao                  0             omitted

nickdiaz        127025                115446.4                    1.10              0.276                     104531.1              358581.2

condit            17682.58            146541.4                    0.12              0.904                     311607.4              276242.3

edgar             13711.78               99316.01                 0.14              0.891                     212914.5              185490.9


edgarco                0             omitted

bhenderson        55371.94            140636.5                    0.39              0.695                     337453.1              226709.2

mir               99525.18            104320.9                    0.95              0.344                     109716.1              308766.4

machida           61106.33               99055.89                 0.62              0.540                     137574.6              259787.3


serra             62678.51            140121.5                    0.45              0.656                     343726.7              218369.7

nogueira        145872.5              120746.2                    1.21              0.232                      96313.65             388058.7

sylvia          186513.9              110448.6                    1.69              0.097                     408045.7                  35017.92

 cons           2199125            1959353                        1.12              0.267                 6129089                  1730839

Regression 1B   ? Reduced       to include    only significant         variables


Source                    SS                                      df                MS                    Number of obs            82

                                                                                                          F17 64          18.75


Model                     4.7445e 12                              17                2.7909e 11            Prob       F    0.0000

Residual                  9.5246e 11                              64                1.4882e 10            R    squared     0.8328

                                                                                                          Adj    R   squared       0.7884


Total                     5.6970e 12                              81                7.0333e 10            Root MSE         1.2e 05

buys                  Coef                       Std Err               t            P    t          95 Conf                Interval

gdppc                          137.773                   31.40497          4.39     0.000               200.5117                        75.03442


population                 31841.08                   8432.82              3.78     0.000             14994.59                 48687.58

pctfree               1533824                       479933.2               3.20     0.002           575046.8               2492600

tuf                       282398.7                  54316.69               5.20     0.000           173888.7                   390908.8

hwtitle                   593383.7                  92455.31               6.42     0.000           408683                     778084.4

wwtitle                   422267.8                  46742.54               9.03     0.000           328888.8                   515646.7

womenstitle               218216.6                126328.4                 1.73     0.089             34153.43                 470586.7


womenstitleco             238012.7                  142822                 1.67     0.101             47306.93                 523332.4

penn                      172395.5                  50467.04               3.42     0.001             71576                    273215

rampage                   113558                    57055.83               1.99     0.051               424.0732               227540.2

asilva                    272805.2                  43210.95               6.31     0.000           186481.4                   359129

jonjones                  174221.6                  49427.29               3.52     0.001             75479.27                 272964

lesnar                    249024.6                  69943.92               3.56     0.001           109295.5                   388753.6

velasquez                 344556.3                  91671.93               3.76     0.000           527692                     161420.6

evans                     171948.5                  48846.06               3.52     0.001             74367.29                 269529.7


machida                   134140.7                  61900.94               2.17     0.034             10479.35                 257802

nogueira                  238706.2                  77277.18               3.09     0.003             84327.32                 393085.2


 cons                  3471751                   1776964                   1.95     0.055           7021644                    78141.49


Regression 2B   ? Full Model

Source                SS                                     df                     MS                           Number of obs            103


                                                                                                                 F 47 55         4.32

Model                 5.0594e 12                             47                     1.0765e 11                   Prob     F     0.0000

Residual              1.3716e 12                             55                     2.4938e 10                   R   squared       0.7867




                                                                                                                                                   1053
         Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 24 of 26



               Demand     for the Ultimate Fighting     Championship An Econometric    Analysis of PPV    Buy Rates




                                                                                                       Adj    R   squared   0.6045


Total              6.4309e 12                     102                     6.3048e 10                   Root   MSE       1.6e 05


buys           Coef                 Std Err                 t             P   t           95 Conf                   Interval

gdppc                 128.5009            44.79534              2.87      0.006                218.2728                     38.72907

population        25688.13             10009.01                 2.57      0.013               5629.637                 45746.63


internatio l      32650.73             66158.25                 0.49      0.624            165234.8                    99933.36

tuf              228931.6              73972.21                 3.09      0.003             80688                     377175.3

pctfree         1899783              789642.8                   2.41      0.020            317302.9                 3482262

hwtitle          270945.2              97601.36                 2.78      0.008             75347.66                  466542.7

lhwtitle          86211.65             84022.04                 1.03      0.309             82172.28                  254595.6

mwtitle           10013.45             96815.19                 0.10      0.918            184008.5                   204035.4

wwtitle           15070.06           149689                     0.10      0.920            315053.4                   284913.3

lwtitle           16199.57             86552.77                 0.19      0.852            157256                     189655.2


fwtitle          102141.6            187461.6                   0.54      0.588            477823                     273539.8

bwtitle          234430.6            239116.7                   0.98      0.331            244770                     713631.2

flwtitle         330161.2            268752.4                   1.23      0.224            868753                     208430.6


womenstitle      284033.1            153620.7                   1.85      0.070             23829.62                  591895.9

titles           112151.2            142923.6                   0.78      0.436            174274.1                   398576.5

supercard        152791.9            198776                     0.77      0.445            551147.9                   245564

liddell          175814.4              77303.92                 2.27      0.027             20893.94                  330735

couture           60913.99             82776.22                 0.74      0.465            104973.3                   226801.2


ortiz             94649.17             96046.78                 0.99      0.329             97832.88                  287131.2

hughes             7604.714          101490.6                   0.07      0.941            195787                     210996.4

gsp              353206.1            144602                     2.44      0.018             63417.21                  642995

penn             150747.3              82423.21                 1.83      0.073             14432.52                  315927.1

rampage          154484.8              79516.77                 1.94      0.057               4870.422                313839.9

asilva           199864.7              94560.58                 2.11      0.039             10361.07                  389368.4

jonjones          54312.43           101966.8                   0.53      0.596            150033.7                   258658.5

lesnar           380881.3              87106.61                 4.37      0.000            206315.7                   555446.8


jds               30142.34           128899.3                   0.23      0.816            228177.6                   288462.2

velasquez        136811.2            128585.2                   1.06      0.292            394501.7                   120879.4

rousey                    0          omitted


aldo              67865.97           207392.7                   0.33      0.745            347758.3                   483490.3

faber            119792.3            187547.6                   0.64      0.526            495646.1                   256061.5

shogun            96309.51           106340.7                   0.91      0.369            116802                     309421.1

dhenderson        52748.56             91312.68                 0.58      0.566            235743.3                   130246.1

evans            132569.9              72619.65                 1.83      0.073             12963.16                  278102.9


franklin          64549.91             88106.67                 0.73      0.467            241119.6                   112019.8

belfort          177693.6            129738.5                   1.37      0.176             82308.09                  437695.3

bisping            2484.926          183847.5                   0.01      0.989            370923.6                   365953.8

wsilva            25513.92           126432.6                   0.20      0.841            278890.4                   227862.6


sonnen           134545.5            112949.9                   1.19      0.239             91811.12                  360902.1

barao                     0          omitted

nickdiaz         120176.3            113837.8                   1.06      0.296            107959.8                   348312.3

condit            28948.48           144841.3                   0.20      0.842            319217                     261320

edgar              9000.209          101431.5                   0.09      0.930            194273.1                   212273.5

bhenderson        67638.47           143376.3                   0.47      0.639            354971                     219694

mir               89041.23             97268.21                 0.92      0.364            105888.6                   283971.1

machida           63126.21             98088.01                 0.64      0.523            133446.6                   259699




1054
        Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 25 of 26



                Demand      for the Ultimate Fighting           Championship An Econometric          Analysis of PPV           Buy Rates




serra               63135.03               138173.9                    0.46        0.650                     340041.7                   213771.6


nogueira           143996.8                119403.1                    1.21        0.233                      95292.33                  383286

sylvia             186869.3                106085.7                    1.76        0.084                     399469.8                       25731.17

 cons             2166760                1928930                       1.12        0.266                    6032422                    1698902


Regression 2B   ?Reduced     to include only significant         variables


Source             SS                                 df          MS                          Number of obs           103

                                                                                              F 19 83         12.79


Model              4.7940e 12                         19          2.5232e 11                  Prob      F    0.0000

Residual           1.6369e 12                         83          1.9722e 10                  R   squared     0.7455

                                                                                              Adj   R   squared       0.6872


Total              6.4309e 12                         102         6.3048e 10                  Root MSE        1.4e 05


buys               Coef                    Std Err                     t          P       t                  95 Conf                        Interval


gdppc                       110.8322                31.49852               3.52   0.001                             173.4814                        48.18287

population              26835.76                  6941.232                 3.87   0.000                           13029.93                     40641.59

pctfree             1275692                  496851.4                      2.57   0.012                       287475                        2263910

international           81472.43               44977.54                    1.81   0.074                       170931                            7986.087

tuf                  204791.6                  57719.41                    3.55   0.001                           89990.04                   319593.2

hwtitle              183114.6                  52317.16                    3.50   0.001                           79057.88                   287171.3

lhwtitle             161543.5                  44290.97                    3.65   0.000                           73450.54                   249636.5


womenstitle          250388.6                110072.7                      2.27   0.025                           31458.54                   469318.7

liddell              146242.4                  55433.41                    2.64   0.010                           35987.59                   256497.2

couture                 91153.15               56463.3                     1.61   0.110                           21150.08                   203456.4

ortiz                   99937.86               71975.22                    1.39   0.169                           43217.96                   243093.7


gsp                  334471                    46497.67                    7.19   0.000                       241989                         426953

penn                 159032.2                  51093.14                    3.11   0.003                           57409.98                   260654.4

rampage              127684.7                  61196.61                    2.09   0.040                            5967.161                  249402.3

asilva               218009.1                  44277.95                    4.92   0.000                       129942                         306076.1


lesnar               372373.1                  64911.15                    5.74   0.000                       243267.5                       501478.8

rousey                        0             omitted

evans                125679.9                  53239.27                    2.36   0.021                           19789.18                   231570.7

sonnen               123042.8                  90768.64                    1.36   0.179                           57492.32                   303578

mir                  106618                    72064.27                    1.48   0.143                           36714.92                   249951

 cons               3110538                 1117647                        2.78   0.007                      5333493                         887583.5



Regression 1C   ? Reduced     to include   only   significant     variables


Source                        SS                                  df                   MS                              Number of obs           82

                                                                                                                       F 19 62         18.01


Model                         4.8231e 12                          19                   2.5385e 11                      Prob       F   0.0000

Residual                      8.7384e 11                          62                   1.4094e 10                      R    squared     0.8466


                                                                                                                       Adj    R   squared      0.7996

Total                         5.6970e 12                          81                   7.0333e 10                      Root    MSE      1.2e 05


buys                 Coef                     Std Err                  t              P       t               95 Conf                  Interval

gdppc                         156.2218                     30.22121        5.17       0.000                           216.6331                   95.81044


population                 33718.18                 8187.371               4.12       0.000                        17351.86                  50084.5

pctfree                 1684726                   469806.5                 3.59       0.001                       745596.1              2623856

tuf                     273305                     52297.65                5.23       0.000                       168763.5                  377846.5

hwtitle                 602985.6                   90238.41                6.68       0.000                       422601.6                  783369.6


wwtitle                 438811.1                   47461.33                9.25       0.000                       343937.2                  533684.9




                                                                                                                                                            1055
        Case 2:15-cv-01045-RFB-BNW Document 743-11 Filed 09/12/19 Page 26 of 26



               Demand    for the Ultimate Fighting        Championship An Econometric     Analysis of PPV    Buy Rates




lwtitle                  85328.77             51569.66           1.65             0.103           17757.52                188415.1


womenstitle            265490               124137.1             2.14             0.036           17343.41                513636.6

womenstitl o           273956               138637.8             1.98             0.053            3177.013               551089.1

penn                   110952.6               57402.43           1.93             0.058            3793.211               225698.5

rampage                149477.4               56615.82           2.64             0.010           36304.01                262650.8


asilva                 293229                 43107.97           6.80             0.000          207057.4                 379400.6

jonjones               200096                 49215.31           4.07             0.000          101716                   298476

lesnar                 258490.4               68313.48           3.78             0.000          121933.7                 395047.1

velasquez              319877                 89698.37           3.57             0.001          499181.5                 140572.5


shogun                 155994.4               66055.62           2.36             0.021           23951.08                288037.7

evans                  208281.3               48643.63           4.28             0.000          111044                   305518.5

nickdiaz               159913.5               76936.04           2.08             0.042            6120.573               313706.5

nogueira               239037.7               75442.69           3.17             0.002           88229.96                389845.5


 cons               3233198                1746253               1.85             0.069         6723907                   257510.8



Regression 2C? Reduced    to include   only significant    variables


Source            SS                             df                          MS                      Number of obs           82

                                                                                                     F 17 64         15.28

Model             4.5706e 12                     17                          2.6886e 11              Prob       F   0.0000

Residual          1.1264e 12                     64                          1.7600e 10              R    squared     0.8023


                                                                                                     Adj    R   squared      0.7498

Total             5.6970e 12                     81                          7.0333e 10              Root    MSE      1.3e 05


Buys                     Coef               Std Err               t               P   t         95 Conf                   Interval

gdppc                           126.9153              33.72552        3.76        0.000             194.2897                      59.54078


population                  24242.3              9121.869             2.66        0.010            6019.269                  42465.33

pctfree                  1357130              525411.6                2.58        0.012          307499.5                 2406760

hwtitle                   598090.5              96375.55              6.21        0.000          405558.2                  790622.8

wwtitle                   448967.7              48619.88              9.23        0.000          351838.4                  546097.1


womenstitle               418705.1            101973.9                4.11        0.000          214988.8                  622421.5

penn                      121773                53115.34              2.29        0.025           15662.92                 227883.1

rampage                   207926.4              61127.72              3.40        0.001           85809.72                 330043.1

asilva                    238366.6              47137.7               5.06        0.000          144198.2                  332535

jonjones                  182389.9              54222.54              3.36        0.001           74067.91                 290711.8

lesnar                    190000.7              75791.11              2.51        0.015           38590.54                 341410.8

velasquez                 326361.6              97641.33              3.34        0.001          521422.6                  131300.7

shogun                    135275.6              73226.76              1.85        0.069           11011.7                  281562.8

evans                     236394.7              52967.57              4.46        0.000          130579.8                  342209.6

sonnen                    222086.9              84291.71              2.63        0.011           53694.84                 390478.9

nickdiaz                  133579.9              83290.31              1.60        0.114           32811.65                 299971.4

nogueira                  278484                81902.18              3.40        0.001          114865.6                  442102.4

  cons                   1575176             1941733                  0.81        0.420         5454233                   2303881




1056
